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                                                     Exhibit 22
                         Designations of Deposition Testimony of John Lujan (June 23, 2022)


             Plaintiffs’ Affirmative Designations                         Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’     Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                             Objections
       39:14                   40:6
       40:16                  42:13
       51:12                  51:19
       54:12                  54:20
       56:9                   57:19
       58:5                   58:18
       62:13                  62:14
       62:21                   63:9
       64:8                   64:20
       67:6                   67:12
       67:16                  67:21
       68:3                    68:5
       69:13                  69:19
       70:23                  71:10
       71:15                  71:25
       74:12                  74:15
       74:20                   76:2
       76:12                  76:19
       77:22                  77:24
       78:11                  79:16
       80:1                   80:23
       81:9                   81:23
       84:14                  84:17
       85:6                   85:16
       86:6                   86:10
       87:8                   87:10

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              Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line          End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                 Objections                                            Objections
        91:17                    92:7
        95:4                     95:9
        95:15                    96:6
        96:14                   96:20
      100:13                    101:5
      103:14                   103:19
      104:17                   105:25
        106:8                  106:11
       110:19                  110:21
       112:19                  113:17
       115:23                  115:25
       116:16                  117:11
       117:17                   118:2
       118:11                  118:22
      121:23                    122:1
      122:21                   122:23
      123:23                   126:11
        127:4                  127:25
        128:8                  128:18
        132:5                   133:6
      133:19                    137:8
        139:6                  142:10
      142:14                    143:7
        147:5                  147:16
        148:3                  148:16
        152:4                  152:22
        154:6                   155:1
      155:13                    158:2
        159:1                  159:17

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             Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                            Objections
       161:4                  161:10
      161:22                  163:13
      163:24                   164:8
      165:12                  165:20
       166:3                  168:20
       172:2                  172:10
      172:17                  172:21
       173:8                  173:13
       191:9                  191:15
      191:24                  192:19
       195:8                  195:20
       196:3                   196:6
      197:18                   198:9
       199:5                  199:21
       201:8                  201:20




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